     Case 3:15-cr-00068-K Document 69 Filed 08/02/22                Page 1 of 1 PageID 190



                       IN THE UNITED STATES DISTRICT COURT
                       FOR THE NORTHERN DISTRICT OF TEXAS
                                 DALLAS DIVISION

UNITED STATES OF AMERICA                           §
                                                   §
v.                                                 §          3:15-CR-068-K-1
                                                   §
DEWAYNE MICHAEL COTTEN,                            §



                          ENTRY OF APPEARANCE OF COUNSEL

        I hereby enter my appearance as appointed counsel for the above-named defendant(s) in
        this cause.

        I understand that it is my duty to continue to represent the above-named defendant(s) in
        connection with all matters relating to this cause, and in connection with all proceedings
        therein in this Court; to assist the defendant(s) with any appeal which the defendant(s)
        desires to perfect, and to represent the defendant(s) on appeal until a final judgment has
        been entered; unless and until, after written motion filed by me, I am relieved by Order of
        the Court.

        In all cases an arraignment is scheduled promptly after the return or filing of an indictment
        or information, at which time the defendant must enter a plea. Your attention is directed to
        Rule 12, Federal Rules of Criminal Procedure, pertaining to pretrial motions.


        Dated: August 2, 2022                           /s/ Shery Kime-Goodwin
                                                       SHERY KIME-GOODWIN
                                                       Assistant Federal Public Defender
                                                       Northern District of Texas
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